                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF NEW YORK



 REV. STEVEN SOOS, REV. NICHOLAS
 STAMOS, DANIEL SCHONBRUN,
 ELCHANAN PERR, MAYER
 MAYERFELD,                                                           20-CV-00651

          Plaintiffs,                                                   GLS-DJS

 v.

 ANDREW M. CUOMO, Governor of the State                          DECLARATION OF
 of New York, in his official capacity, LETITIA                  AHUVA KLEINMAN
 JAMES, Attorney General of the State of New
 York in her official capacity, and BILL DE
 BLASIO, Mayor of the City of New York, in his
 official capacity,

           Defendants.



         Pursuant to 28 U.S.C. Section 1746, Ahuva Kleinman hereby declares under penalty of

perjury as follows:

      1. I am filing an amicus curiae brief in this matter and I make this declaration in support of

         my claim that the practice of my religion has been burdened by the challenged Executive

         Orders.

      2. The Executive Orders, as applied where I live, restrict communal prayer services to a

         maximum of ten people in a house of worship.

      3. In the Orthodox Jewish religion, there must be a minimum of ten males age 13 or over in

         attendance in order to conduct a communal prayer service.

      4. As a matter of my religious belief and practice, I also wish to participate in communal

         prayer services.
5. Under the Executive Orders, however, once the minimal quorum of ten males over 13 have

   gathered for communal prayer services, no additional people are allowed to attend and

   participate.

6. As a result, I have been barred by the Executive Orders from attending communal prayer

   services.

7. I have regularly attended synagogue services for many years, up until the Executive Orders

   restricting attendance at communal worship services.

8. My husband is the rabbi of a synagogue, Khal Nachlas Dovid, and I would like to be able

   to attend synagogue services with him, but the Executive Orders prevent me from doing

   so.

9. Minor children have also been barred from such services, which they used to attend

   regularly. It is vitally important for members of our congregation, as a matter of religious

   belief and observance to educate our children to attend communal prayer services and to

   inculcate in them the importance of attending such services. The Executive Orders bar

   children under 13 from attending communal services. It bothers me greatly that minor

   children cannot attend prayer services with their parents.

10. As Rebbetzin (Rabbi’s wife) of congregation Khal Nachlas Dovid, I know of other women

   in the congregation who also used to regularly attend communal prayer services, many

   together with their young children, and they are also upset at being unable to attend such

   services.

11. Because of the Executive Orders, my constitutional rights to freely practice my religion

   and the rights of children in my congregation are therefore being infringed, as are the rights

   of other women similarly situated.



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      I certify under penalty of perjury that the foregoing is true and correct.




June 16, 2020




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